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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

 HOWARD COHAN,

         Plaintiff,
                                                           CASE NO.: 9:20-cv-80592-WPD
 vs.


 WHOLE FOODS MARKET GROUP, INC.
 a Foreign Profit Corporation
 d/b/a WHOLE FOODS MARKET

       Defendant(s).
 ____________________________________/
              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, HOWARD COHAN and the Defendant, WHOLE FOODS MARKET

 GROUP, INC., a Foreign Profit Corporation, d/b/a WHOLE FOODS MARKET, (the Parties)

 hereby stipulate that (1) the Parties have settled this action; (2) Plaintiff voluntarily dismisses this

 action with prejudice against WHOLE FOODS MARKET GROUP, INC., a Foreign Profit

 Corporation, d/b/a WHOLE FOODS MARKET; (3) the Parties shall bear their own costs and fees

 except as provided for in the Parties’ Settlement Agreement; and (4) the Parties condition the

 stipulation upon this Court entering an order retaining jurisdiction to enforce the terms of the

 Parties’ Settlement Agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th

 Cir. 2012).

         RESPECTFULLY SUBMITTED May 15, 2020.

  By: /s/ Gregory S. Sconzo                          By: /s/ Mahira Khan
  Gregory S. Sconzo, Esq.                            Mahira Khan, Esq.
  Florida Bar No.: 0105553                           Florida Bar No. 109501
  Sconzo Law Office, P.A.                            BAKER, DONELSON, BEARMAN,
  3825 PGA Boulevard, Suite 207                      CALDWELL & BERKOWITZ, P.C.
  Palm Beach Gardens, FL 33410                       100 S.E. Third Avenue, Suite 1620
  Telephone: (561) 729-0940                          Fort Lauderdale, FL
  Facsimile: (561) 491-9459                          Phone: 954-768-1606
  Service Email: sconzolaw@gmail.com                 Fax: 954-333-3570
  Email: greg@sconzolawoffice.com                    Email: mkhan@bakerdonelson.com
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  Attorney for Plaintiff                           Attorney for Defendant



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 15, 2020, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on counsel of record in this action via transmission of Notices of Electronic Filing

 generated by CM/ECF.

                                                      _ /s/ Gregory S. Sconzo
                                                      Gregory S. Sconzo, Esq.




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